                    Case 2:13-cv-00193 Document 775-33 Filed on 11/19/14 in TXSD Page 1 of 1
From                                                  Bodisch       Robert

To                                                    MacGregor Stephenson              cshortersosstatetxus
CC                                                    Bodisch       Robert    Peters Joe
Sent                                                  10142013 54934 PM
Subject                                               EIC Situation Map

Attachments                                           EIC Counties with No Drver License              Office    14 Oct 2013pdf



Per conversation              Attached                       please   find   the current     status   of   79 county participation            in   theWe have
                                                                                                                                                         EIC      effort

training scheduled            for Thursday at various                           sites   around the state          Regardless of where we are with the MOUs the
stations    will   process the EICs as soon as they are trained and we                                            will   let   the    MOUs catch up but not mail the EICs until
the   MOU     is   received                          As soon as the yellow counties              receive      their training         by Friday they      will   all   turn   green   The 38
blue   counties      will    be                    staffed   by    DPS   personnel    so no     problem there            The one grey county is a DPS scheduled office
and we are adding the extra days to ensure                                       at least     5 days coverage            and  will also be available
                                                                                                                                it                   on the scheduled days
as well



The team is        still
                            working                    on    the   extended    hours schedule          Will   forward when available



In   addition      our Saturday operations                               continue    at 49   DPS      locations     and our 25 EIC Mobile units continue                        deployed and

on schedule




Robert       J Bodisch
Assistant           DirectorChief
Texas          Security
Texas Department of Public Safety
P 0 Box 4087
Austin Texas 79773
5124242368
irobertbodisch•a Apstexasgov

robertbodischslealdhssgovgov




       2:13-cv-193
                              exhibitsticker.com




       09/02/2014

      DEF1470
                                                                                                                                                                                        TEX0507640
